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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

COMMISSION FOR LAWYER DISCIPLINE, §
                                  §
           Plaintiff,             §
                                  §
v.                                §                                    1:19-CV-754-RP
                                  §
BRANDI K. STOKES,                 §
                                  §
           Defendant.             §

                                              ORDER

       Before the Court is the report and recommendation from United States Magistrate Judge

Mark Lane concerning Defendant Brandi K. Stokes’s (“Stokes”) Motion for Leave to File under

Seal, (Dkt. 13), Supplemental Pleading to Motion to Appoint Counsel, (Dkt. 17), and Second

Supplemental Pleading to Motion to Appoint Counsel, (Dkt. 19), as well as Plaintiff Commission for

Lawyer Discipline’s (“CLD”) Opposed Motion to Remand, (Dkt. 9). Pursuant to 28 U.S.C. § 636(b)

and Rule 1(d) of Appendix C of the Local Rules of the United States District Court for the Western

District of Texas, Judge Lane issued his report and recommendation on January 9, 2020. (R&R, Dkt.

20). After that, Stokes filed a motion to disqualify Judge Lane, (Dkt. 21), an additional supplemental

pleading to her motion to appoint counsel, (Dkt. 24), and a motion to dismiss, (Dkt. 25).

       Under 28 U.S.C. § 636(b), a party may serve and file specific, written objections to a

magistrate judge’s proposed findings and recommendations within fourteen days after being served

with a copy of the report and recommendation and, in doing so, secure de novo review by the

district court. Stokes timely filed objections to the report and recommendation. (Objs., Dkt. 22).

       Because Stokes timely objected to the report and recommendation, the Court reviews the

report and recommendation de novo. Having done so, the Court overrules Stokes’s objections and

adopts the report and recommendation as its own order.



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        In addition to his recommendations related to the motions listed above, Judge Lane

recommends that this Court order Stokes “to disclose her full litigation history in any civil

complaint, answer, and/or IFP affidavit she files” and warn her that “further frivolous filings or

filings made for an improper purpose will likely lead to sanctions.” (R&R, Dkt. 20, at 5–6). Stokes

objected to this portion of the report and recommendation. (See Objs., Dkt. 22, at 3–4). Her

arguments are unavailing. The Court concurs with Judge Lane’s justification for these measures and

finds them reasonable given the circumstances. (See id. at 6.).

        Accordingly, IT IS ORDERED that the report and recommendation of the United States

Magistrate Judge, (Dkt. 20), is ADOPTED.

        IT IS FURTHER ORDERED that CLD’s Opposed Motion to Remand, (Dkt. 9), is

GRANTED. Consequently, because this Court does not have subject-matter jurisdiction over this

matter, all of Stokes’s motions and other pleadings, (Dkt. 13, 17, 19, 21, 24, 25), are MOOT.

        IT IS FURTHER ORDERED that this case is REMANDED to the 419th Civil District

Court of Travis County, Texas.

        IT IS FURTHER ORDERED that Stokes shall disclose her full litigation history in any

civil complaint, answer, and/or in forma pauperis affidavit she may file in the future.

        IT IS FINALLY ORDERED that Stokes is WARNED that additional frivolous filings or

filings made for an improper purpose will likely lead to sanctions.



        SIGNED on January 27, 2020.




                                                 ROBERT PITMAN
                                                 UNITED STATES DISTRICT JUDGE




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